Case 3:18-cv-00067-MFU-JCH Document 80 Filed 09/18/19 Page 1 of 1 Pageid#: 1062
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           D efendants


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           Thepartieshavem oved forentry ofaConsentD eczee disposing ofalltheissuesin

     thiscase.ECF N o.78.H aving review ed the ConsentD ecree,thecourtSndsthatitisin the

     interestsofjusécetoentezitandherebygrantsthemoéonandenterstheConsentDecree.
     A ccordingly,the m otion isGR AN T ED ,theConsentD ecreeisEN TE RE D and thisacdon

     isDISM ISSED with prejudiceand STRICKEN from theactivedocket.
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